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                                   STATEMENT OF FACTS

        I have been a Special Agent with the Federal Bureau of Investigation (“FBI”) since
October of 2007, where I am currently assigned to a squad which investigates narcotics
trafficking offenses. As a Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of violations of
Federal criminal laws. I am currently assisting with an investigation into criminal activity in and
around the Capitol grounds on January 6, 2021.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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                 FACTS RELATED TO CHRISTOPHER J. WARNAGIRIS

        On January 6, 2021, at approximately 2:24 PM, a security camera in the Capitol
positioned inside of the East Rotunda doors, facing the doors, captured a group of individuals
struggling to fight their way through the doors. United States Capitol Police (USCP) Officers,
standing guard outside the doors, can be seen through the windowpanes attempting to hold a
large crowd of individuals at bay while several individuals try to push through the officers or pull
them out of the way. Three individuals who had already entered the Capitol from elsewhere
approached the doors from the inside and attempted to push the doors open to grant their fellow
rioters’ entry. A USCP Officer in plain clothes rushed to the entrance and attempted to push
away the individuals gathered inside the doors and help keep the remaining crowd out.

        As this struggle ensued, the officers gradually lost ground and the crowd of individuals
managed to pull the doors open wider and wider. At approximately 2:25 PM, the first individual
pushed himself through the East Rotunda doors and into the Capitol. The subject was wearing a
dark jacket with bright green zippers, a military green backpack and black and tan gloves. He
had short, dark hair which was trimmed to the skin along the edges of his hairline. Images of this
subject would subsequently be posted to the FBI website Capitol Violence page and given the
designation of BOLO-241-AFO (hereinafter “241-AFO”).




Screen shot of footage from a security camera facing the interior of the east rotunda doors.
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The screen shot shows events occurring on January 6, 2021 at approximately 2:25 PM as
241-AFO enters the Capitol through the east rotunda doors. 241-AFO is circled in red.

        After 241-AFO made it through the doors, other individuals followed, one by one, each
having to fight and push their way past the officers who were still attempting to physically block
the entrance. 241-AFO briefly walked out of view of the security camera and then returned to
the doorway from inside the building. He positioned himself in the corner of the doorway and
seemed to use his body to help keep the door partially open and reached for individuals pushing
their way through to help pull them inside.




A screen shot of the RMG News video found at https://www.youtube.com/watch?v=V-
fkunG5J6k. The screen shot captures events occurring on January 6, 2021, at
approximately 2:26 PM. In this video, 241-AFO (circled in red) can be seen helping
individuals through the east rotunda door as a USCP Officer attempts to pull him away
from the doorway.

        As the struggle continued, several USCP Officers repositioned themselves from the
outside of the doorway to the inside and continued to try to stop the stream of individuals from
entering the building. Officer A.W. moved himself between 241-AFO and the crowd outside.
Officer A.W. tried to pull one of the doors shut as 241-AFO continued to try to push it further
open. Officer A.W. was interviewed by the FBI on March 26, 2021, and shown a screen shot
from the security footage that displayed him next to 241-AFO in the doorway. Officer A.W.
recalled 241-AFO being next to him during the struggle and ordering him to get out of the
doorway. When 241-AFO did not comply, Officer A.W. recalled trying to push him out of the
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way and 241-AFO pushing him back in an effort to maintain his position in the open door. This
struggle between 241-AFO and Officer A.W. can be seen in the security video footage captured
at approximately 2:27 PM.




A screen shot of footage from a security camera facing the interior of the east rotunda
doors. The screen shot shows events occurring on January 6, 2021, at approximately 2:27
PM between 241-AFO and Officer A.W. 241-AFO is circled in red.
       Parts of this scene were captured by a videographer working for RMG News who was
among the individuals already inside the Capitol. Two screen shots of 241-AFO were captured
from the RMG News video and posted to the FBI/Capitol Violence website. A third screen shot
of 241-AFO was taken from video posted to Youtube.com by Freedom News TV, which
captured 241-AFO walking through the interior of the Capitol after abandoning the struggle at
the East Rotunda doors.
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                 A                                 B                            C

Photographs of 241-AFO A, B and C posted to fbi.gov/wanted/capitol-violence. Photos A
and B are screen shots of the RMG News video found at
https://www.youtube.com/watch?v=V-fkunG5J6k. Photograph C is a screen shot taken
from video posted by Freedom News TV to
https://www.youtube.com/watch?v=jBRJmnvFfo8.

        On March 16, 2021, a member of the public (hereinafter “Witness 1”) saw the three
photos of 241-AFO on the internet and reported to the FBI that Witness 1 recognized 241-AFO
as CHRISTOPHER J. WARNAGIRIS, who Witness 1 believed was an active duty Marine
officer. Witness 1 worked with WARNAGIRIS for approximately six months in 2019 and
would see him in close proximity approximately once a week while they worked together.
Witness 1 expressed high confidence that 241-AFO is WARNAGIRIS.

       Investigators determined that WARNAGIRIS is an active duty Marine officer who has
been stationed at the Marine Corps Base, Quantico since the summer of 2020. Investigators
obtained two government photographs of WARNAGIRIS and confirmed his resemblance to 241-
AFO.

      On March 17, 2020, I, along with another FBI agent, went to WARNAGIRIS’s military
command and interviewed one of his co-workers (hereinafter “Witness 2”). Witness 2 has
worked with WARNAGIRIS for approximately nine months and tends to see him in close
proximity several times a week. Witness 2 was shown the aforementioned three photographs (A,
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B, and C) and a brief portion of the RMG News video of 241-AFO inside the Capitol and was
asked if Witness 2 recognized the depicted individual. Witness 2 identified the individual as
CHIRSTOPHER WARNAGIRIS.

                                          CONCLUSION

    For the reasons set forth above, I submit there is probable cause to believe that
WARNAGIRIS violated:

18 U.S.C. § 111(a), which makes it a crime to forcibly assault or interfere with any person
designated in section 1114 of this title 18 while engaged in or on account of the performance of
official duties. Persons designated within section 1114 include any person assisting an officer or
employee of the United States in the performance of their official duties.

18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. (“Civil disorder” means any public disturbance involving acts of violence by
assemblages of three or more persons, which causes an immediate danger of or results in damage
or injury to the property or person of any other individual. “Federally protected function” means
any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof;
and such term shall specifically include, but not be limited to, the collection and distribution of the
United States mails. 18 U.S.C. §232(1).)

18 U.S.C. § 1512(c), which makes it a crime to corruptly obstruct, influence, and impede an
official proceeding, including a proceeding before Congress, by entering and remaining in the U.S.
Capitol without authority and engaging in disorderly and disruptive conduct.

18 U.S.C. § l752(a) and (b), which make it a crime to (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or (4) knowingly engage in any act of physical violence against any person or
property in any restricted building or grounds; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a restricted building includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the
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Secret Service is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance; and

40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the
intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House
of Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; or (F) engage in an act of physical violence
in the Grounds or any of the Capitol Buildings.

       As such, I respectfully request that the court issue an arrest warrant for WARNAGIRIS.
The statements above are true and accurate to the best of my knowledge and belief.


                                                              Respectfully Submitted,

                                                              _________________________
                                                              Steven A. Weatherhead
                                                              Special Agent
                                                              Federal Bureau of
                                                              Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of May 2021.
                                                                               2021.05.12
                                                                               17:05:23 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
